                           UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA

CHARLES MABE,                                 )
                                              )
       Plaintiff,                             )
                                              )
vs.                                           )
                                              )                 COMPLAINT
NORFOLK SOUTHERN RAILWAY                      )           JURY TRIAL DEMANDED
COMPANY,                                      )
                                              )
      Defendant.                              )
________________________________              )


       COMES NOW Plaintiff, Charles Mabe, by and through his attorneys, Daniel R. Francis

and Timothy A. Sheriff, of the firm Crumley Roberts, LLP for their Complaint against the

Defendant, Norfolk Southern Railway Company (hereinafter “Norfolk Southern”), states:

       1.      The Plaintiff is informed, believes, and therefore alleges that Defendant, Norfolk

Southern, is now and was at all times hereinafter mentioned, a foreign corporation duly

organized and created with a principal place of business in Norfolk, Virginia, authorized and

conducting business in Linwood, Davidson County, North Carolina and was at all times

hereinafter mentioned a common carrier in interstate transportation and commerce by railroad.

       2.      At all times pertinent hereto, Plaintiff resided in Lexington, North Carolina.

       3.      At all times pertinent hereto, Plaintiff’s home terminal was Linwood Railroad

Yard, Linwood, Davidson County, North Carolina.

       4.      At all times pertinent hereto, Plaintiff was employed by Defendant as a Conductor

and RCO Operator and was engaged in the furtherance of Defendant’s business interests and

movement of freight in interstate and foreign commerce within the meaning of the Federal

Employers’ Liability Act, 45 U.S.C. §51-60.




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        5.      The respective rights and remedies of the Plaintiff and Defendant are controlled

by the Federal Employer’s Liability Act, 45 U.S.C. §51-60 in that Plaintiff was an employee of

the Defendant whose job duties closely and substantially affected interstate commerce at the time

of the injuries alleged herein.

        6.      That on or about February 1, 2017, while employed as RCO Train Operator for

Defendant Norfolk Southern, and during the course of his employment as a RCO Train Operator

for Defendant Norfolk Southern, in Linwood, North Carolina, Plaintiff was violently and

forcefully struck, without warning, by a car inspector truck driven by Defendant’s employee, a

Norfolk Southern Carmen.

        7.      The Defendant’s employee, a Carman, was driving the Defendant’s vehicle, a car

inspector truck, in reverse, at a high rate of speed, in violation of company safety rules and struck

Plaintiff at such a high rate of speed and force that the impact violently threw the Plaintiff from

the assigned location he was performing his job causing him to land onto the rock ballast, ties,

and railroad track structure.

        8.      The Defendant’s Carman, prior to his unannounced reverse movement, did not

activate the switches in the cab of the truck to turn on the rearward facing bright work lights or

otherwise act to compensate for the inoperable reverse lights and inoperable reverse signal

device. Instead, Defendant’s driver moved, in an unsafe manner, in a reverse movement, striking

Plaintiff.

        9.       That the Defendant’s Car Inspector truck was defective, unsafe, and not in

compliance with Federal Railroad Administration (“FRA”), North Carolina Department of

Transportation (“NCDOT”) and Norfolk Southern standards and regulations at the time of the

collision with Plaintiff and for a substantial period of time prior to this collision at issue herein.




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       10.     The Car Inspector truck had previously been involved in a collision during a

reverse movement with another vehicle, a tractor of Defendant’s, in which the Car Inspector

trucks rear end including: it’s bumper; reverse lights; reverse sounding signal; and other safety

devices were rendered ineffective, broken, inoperable, or otherwise not performing as intended.

The reverse signal device may even have been inoperable prior to this first collision.

       11.     This prior damage to the Car Inspector truck was known and apparent to the

Defendant’s managers and the Carmen operating the truck, as it was reported and yet was not

timely, safely, or otherwise repaired prior to the collision. Further, the Car Inspector truck

should have simply been pulled from service pending repair, instead it was purposefully and

willfully allowed to remain in service. By rule, it is the foreman and manager’s responsibility to

timely repair defective equipment.

       12.     The Defendant made a willful decision to allow the unsafe, dangerous and

unlawful Car Inspector truck to remain in active service regardless of the known and apparent

safety equipment defects.

       13.     The Defendant’s decision to permit the unsafe and defective equipment to remain

in service was in direct violation of Defendant’s own rules, policies, and procedures.

       14.     That the vehicle, which is licensed to operate upon the public roads of the State

was not in compliance with the rules and regulations of the State of North Carolina nor FRA and

the Department of Transportation regulations and other such regulations.

       15.     Plaintiff states that his injuries and damages resulted in whole or in part from the

negligent acts and/or omissions of the Defendant or their officers, employees or agents in one or

more of the following:

             a. Defendant failed to provide Plaintiff with a reasonably safe place to work;




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b. Defendant failed to make the reasonably safe decision to remove the car
   inspector vehicle from service when it was first rendered defective and unsafe;

c. Defendant, through its employees, operated the vehicle in an unsafe manner
   while in a defective and unsafe condition;

d. Defendant failed to take reasonable steps to repair the vehicle prior to permitting
   it to remain in service;

e. Defendant failed to reasonably and timely repair the vehicle;

f. Defendant     failed    to    ensure    that    there     was     a    proper
   Flagman or person to ride point on the Car Inspector truck since it was not in
   compliance with the Defendant’s own rules;

g. Defendant failed to provide reasonably safe methods of work;

h. Defendant failed to provide adequate safety and personal protective equipment;

i. Defendant failed to reasonably provide a Car Inspector vehicle in compliance
   with the North Carolina Department of Motor Vehicles rules and regulations as
   to the maintenance and repair of safety devices, lights, reverse alarms or other
   applicable regulations;

j. Defendant failed to reasonably provide a Car Inspector vehicle in compliance
   with the Department of Transportation rules and regulations as to the installation,
   maintenance and repair of safety devices, reverse lights, reverse alarms or other
   applicable regulations for operation of the vehicle in the Linwood Yard;

k. Defendant failed to reasonably provide a Car Inspector vehicle in compliance
   with the FRA rules and regulations as to the installation, maintenance and repair
   of safety devices, reverse lights, reverse alarms or other applicable regulations
   for operation of the vehicle in the Linwood Yard;

l. Defendant, through its employees, failed to operate the Car Inspector truck in
   accordance with the Defendant’s own rules, regulations and procedures in that he
   moved the vehicle without keeping a careful look out and without use of lights or
   a reverse signal;

m. Defendant, through its employees, failed to perform the necessary daily vehicle
   inspections to the Car Inspector truck as required prior to operating the vehicle:
   and/or

n. Defendant, through its employees, failed to have another employee present to
   ensure the Car Inspector truck could make a safe reverse movement.




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       16.     Defendant knew, or, in the exercise of proper diligence, should have known of the

likelihood of injury from the foregoing acts and/or omissions.

       17.     As a result, in whole or in part, of the negligent conduct of the Defendant,

Plaintiff was caused to suffer serious, painful and permanent injuries. Plaintiff suffered a closed

fracture of transverse process of L1 and L2 lumbar vertebra, a traumatic injury with scar and

disfigurement, as well as permanent change to the elbow bursa with a gritty fibrous posterior

bursitis, numbness and tingling in his right hand, pain and weakness of his right leg, a lumbar

sprain and disc injuries, acute left-sided low back pain, and a collapsed lung. Plaintiff continues

and will continue to experience daily swelling, daily pain, daily suffering, daily depression, daily

limitations and disabilities as a result of Defendant’s unlawful conduct.

       18.     Plaintiff was caused to undergo medical treatment including tests, surgery,

therapy and x-rays and will require future medical treatment. Plaintiff has sustained mental

anguish including depression, anxiety and post-traumatic stress disorder (PTSD). Plaintiff is still

actively treating and additional injuries will be supplemented as the case progresses.

       19.     Plaintiff has lost wages in excess of $100,000 to $125,000 per year including

bonuses, fringe benefits, retirement annuities and will lose future wages and fringe benefits.

Plaintiff has expended or obligated himself for necessary and reasonable medical expenses and

will be caused to expend further such sums for future medical treatment. Plaintiff has suffered

great pain and will in the future have pain and suffering as a result of Defendant’s negligence.

       20.     Plaintiff’s ability to work, labor, and enjoy the normal pursuits of life has been

impaired and lessened all to Plaintiff’s damage. Plaintiff has sustained damages in excess of $3

million dollars and which continue to increase.




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          WHEREFORE, Plaintiff, Charles Mabe prays for Judgement against the Defendant,

Norfolk Southern Railway Company for a sum fair and reasonable under the circumstances,

together with his costs herein expended and for other such relief as the Court shall deem just and

proper.



          Dated: May 17th, 2018

                                                    Respectfully submitted


                                                    /s/ Daniel R. Francis______________
                                                    Daniel R. Francis #44131

                                                    /s/ Timothy A. Sheriff_____________
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